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                       EXHIBIT C


(IDENTIFICATION OF DESIGNATED PREFERENCE ACTIONS)
                       Case 23-11131-TMH                     Doc 1205-1             Filed 01/23/24             Page 2 of 16
Designated Preference Actions


             No.                                                      Counterparty
              1                 3700 Highway 421 Owner LLC
              2                 ACCO Engineered Systems Inc
              3                 ADL BIOPHARMA
              4                 ADP Inc
              5                 Advanced Chemical Transport In
              6                 Agilent Technologies Inc
              7                 Air Products and Chemicals, In
              8                 Airgas Safety Inc
              9                 Alabama Department of Revenue
             10                 Alfa Laval Inc
             11                 Allog Transportes Internaciona
             12                 Amazon Web Services Inc
             13                 Ambius
             14                 American Express
             15                 American Industries, Inc.
             16                 American Mechanical & Piping,
             17                 Ana Dutra
             18                 Aqua Designs, Inc.
             19                 ARC3 Gases
             20                 Art Robbins Instruments LLC
             21                 Arthur J. Gallagher Insurance
             22                 ASM Catalysts, LLC
             23                 AT&T
             24                 Atlantic Coast Toyotalift
             25                 Atlas Copco Compressors
             26                 Avalara, Inc.
             27                 Avanti Polar Lipids, Inc
             28                 Avantor Fluid Handling, LLC
             29                 AWTECH LLC
             30                 Azenta US, Inc.
             31                 BankDirect Capital Finance
             32                 Bankruptcy Management Solution
             33                 Barnum Mechanical Inc.
             34                 Beckman Coulter Inc
             35                 Beck's Shoes Inc
             36                 Better Source
             37                 BFPE International
             38                 Biddle Consulting Group, Inc.
             39                 Bio Base Europe Pilot Plant
             40                 Biosynth International, Inc.
             41                 Bolivia Lumber Company, LLC
             42                 Bonsucro Limited
             43                 Brady Trane Service
             44                 Brunswick County Public Utilit
             45                 Cabot Norit Americas Inc.
             46                 Calcon Systems, Inc.
             47                 Calgon Carbon Corporation
             48                 Calumet Refining, LLC
             49                 Calumet Specialty Products Par
             50                 Carolina Filters, Inc.
             51                 Carrot Fertility, Inc.
             52                 Central Indiana Ethanol, LLC
             53                 CEVA Freight LLC
             54                 CFGI Holdings, LLC
             55                 Chemclean Onsite Services
             56                 Chemglass Life Science, LLC
             57                 ChemSolv Inc
             58                 Chemtrec
             59                 Cigna HealthCare
             60                 Cintas Safety
             61                 City of Emeryville
             62                 Clark & Elbing LLP
             63                 Clemson University
             64                 CloudWyze
             65                 CMC Logistics


The Debtors explicitly reserve the right to amend this Schedule of Designated Preference Actions, including by adding or removing counterparties therefrom,
                                                            through the Effective Date of the Plan.                                              Page 1 of 5
                       Case 23-11131-TMH                     Doc 1205-1             Filed 01/23/24             Page 3 of 16
Designated Preference Actions


             No.                                                      Counterparty
              66                Cole Parmer Instrument Co
              67                Colonial Metals Inc.
              68                Communication Specialists
              69                Compensia Inc
              70                Computype Inc
              71                Concur Technologies, Inc
              72                ConEdison
              73                Corporation Service Company
              74                CP Lab Safety
              75                CPA Global
              76                Crane Pest Control
              77                Croaker Inc.
              78                Daijogo & Pedersen LLP
              79                DC Treasurer
              80                Deborah Hunt
              81                DeepDyve, Inc.
              82                Dekra Services, Inc.
              83                Delaware Secretary of State
              84                Deloitte Tax LLP
              85                DocuSign
              86                DocuSmart Inc. (dba Lexion)
              87                Dreisbach Enterprises Inc
              88                Duke Energy Progress
              89                Dynamic Devices
              90                East Carolina Bonded Warehouse
              91                EBMUD Payment Center
              92                Eclipse Office Technology, LLC
              93                eFax Corporate
              94                Elegen Corp.
              95                Elemental Machines
              96                Emerystation Triangle, LLC
              97                Enviro Safetech
              98                EPIC W12 LLC
              99                ePlus Technology, inc.
             100                Equiniti Trust Company
             101                ES East, LLC
             102                E-TRADE Financial Corporation
             103                Eurofins Genomics LLC.
             104                Eurofins Microbiology Laborato
             105                Eurofins MTS Consumer Product
             106                Eurofins Nutrition Analysis Ce
             107                Evonik Corporation
             108                Evoqua Water Technologies LLc
             109                Ewald Associates Inc.
             110                Fenwick & West LLP
             111                Ferguson Enterprises, LLC
             112                Filtration Solutions Inc
             113                FIRMENICH INC
             114                First Digital Communications,
             115                Fish & Richardson P.C.
             116                Fisher Scientific Co LLC
             117                Franchise Tax Board
             118                Gappify, Inc.
             119                Gelest Inc
             120                Gen Digital, Inc.
             121                Genesee Scientific Corporation
             122                Geoffrey Duyk MD PhD
             123                Gerstel Inc
             124                Gibson, Dunn & Crutcher LLP
             125                Gitlab Inc.
             126                Givaudan Flavors Corporation
             127                Goodwin Procter LLP
             128                Gordon Rees Scully Mansukhani,
             129                GPL Enterprises Inc
             130                Graham Adair


The Debtors explicitly reserve the right to amend this Schedule of Designated Preference Actions, including by adding or removing counterparties therefrom,
                                                            through the Effective Date of the Plan.                                              Page 2 of 5
                       Case 23-11131-TMH                     Doc 1205-1             Filed 01/23/24             Page 4 of 16
Designated Preference Actions


             No.                                                      Counterparty
             131                Grainger
             132                Green Wave Ingredients, Inc
             133                Gurkin Construction
             134                Hauptman Ham, LLP
             135                Haws Consulting Group
             136                Henry C. Levy
             137                Iggy Unlimited
             138                Illumina, Inc.
             139                Industrial & Construction
             140                InforsUSA
             141                Integra Biosciences Corp.
             142                Intelli-tech
             143                Intrepid Investment Bankers LL
             144                Iron Mountain
             145                Ishaq Totah
             146                J. Rettenmaier USA LP
             147                James F McCann
             148                Jay Taylor Exterminating Co.,
             149                John Crane Inc.
             150                John Doerr
             151                Johnson Matthey Inc
             152                Julie Washington
             153                Kaiser Foundation Health Plan
             154                Karl Fisher
             155                Kekst and Company, Incorporate
             156                Kelly Services, Inc.
             157                Kilpatrick Townsend
             158                KLDiscovery Ontrack LLC
             159                Lancer Sales USA, Inc.
             160                Latham & Watkins
             161                Leland Ace Hardware
             162                Lever, Inc.
             163                Life Technologies Corp.
             164                Lincoln Financial Group
             165                Lisa Qi
             166                Loeb & Loeb LLP
             167                M. C. Tank Transport, Inc.
             168                Macias Gini & O'Connell LLP
             169                Marcor Development Corp
             170                Matt Marshall Company
             171                Mattingly Cold Storage
             172                Mayer Electric Supply
             173                McCampbell Analytical Inc
             174                McManus Drum Company
             175                McMaster-Carr Supply Co
             176                Mcnaughton-McKay Southeast Inc
             177                mdi Membrane Technologies INC.
             178                Mec-Tric Controls Company
             179                Medac Health Services PA
             180                Megan Buckley
             181                Mestrelab Research, S.L.
             182                MetLife Legal Plans, Inc.
             183                MetLife Small Business Center
             184                Metrohm USA, Inc.
             185                Mettler-Toledo Process Analyti
             186                Mewburn Ellis LLP
             187                MHD Communications
             188                Michael Herrinton
             189                Micro Quality Labs, Inc.
             190                Microsoft Corporation
             191                Minesoft Ltd
             192                Modern Health Arizona PLLC
             193                Motion Industries, Inc.
             194                MTS Logistics
             195                New England BioLabs Inc


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                                                            through the Effective Date of the Plan.                                              Page 3 of 5
                       Case 23-11131-TMH                     Doc 1205-1             Filed 01/23/24             Page 5 of 16
Designated Preference Actions


             No.                                                      Counterparty
             196                New Pig Corporation
             197                NewPort Tank Containers (USA),
             198                Nikko Chemicals Co Ltd
             199                Nor-Cal Moving Services
             200                North Dakota State University
             201                NTT DATA, Inc.
             202                O. Berk
             203                OANDA Business Information & S
             204                Office Relief Inc
             205                OK Kosher Certification
             206                Oklahoma Tax Commission - Fran
             207                Old Dominion Freight Line Inc
             208                Oracle America, Inc.
             209                ORG Chem Group, LLC
             210                Pachulski Stang Ziehl & Jones
             211                Parker Hannifin Corporation
             212                PerkinElmer Informatics Inc.
             213                PG&E Co
             214                Phenomenex Inc
             215                Piedmont Natural Gas
             216                Pivit Global Inc.
             217                PlanSource
             218                Polycarbin, Inc.
             219                Pope Scientific Inc
             220                Precision IBC Inc
             221                Precision Measurements Inc.
             222                Pressure Chemical Co
             223                PricewaterhouseCoopers LLP
             224                Pridgen Brothers Contractors I
             225                Proforma
             226                Progent Corp
             227                Quiet Logistics, Inc.
             228                Rapid7 LLC
             229                RedLine Solutions, Inc.
             230                Reprints Desk, Inc.
             231                Restek Corp
             232                Sabin Metal Corporation
             233                SafeBridge Consultants Inc
             234                SafeStart
             235                SAP America Inc.
             236                Sartorius Corporation
             237                Sartorius Stedim North America
             238                Schuetz Container Systems, Inc
             239                SciSafe Inc
             240                Sefar Inc.
             241                Semitorr Group, Inc
             242                Seven Bridges Genomics, Inc
             243                Sigma-Aldrich Inc
             244                Silver Lining Services, LLC
             245                Silverson Machines Inc.
             246                Smithers ERS Limited
             247                Softchoice Corp
             248                Southeastern Laboratories, Inc
             249                Southern Design & Mechanical,
             250                Spectrum Chemical Mfg Corp
             251                Squire Patton Boggs
             252                SR&R Environmental
             253                ST CROIX SENSORY INC
             254                Statco Engineering and Fabrica
             255                Stefan Wittocx
             256                Sterlitech Corp
             257                Steven R Mills
             258                Sun Life Assurance Company of
             259                Swagelok Northern California
             260                SYNQ Marketing Group, LLC


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                                                            through the Effective Date of the Plan.                                              Page 4 of 5
                       Case 23-11131-TMH                     Doc 1205-1             Filed 01/23/24             Page 6 of 16
Designated Preference Actions


             No.                                               Counterparty
             261                TCI Chemicals
             262                TECO Pneumatic Inc
             263                Terumo BCT Inc
             264                The Caldwell Partners Internat
             265                The Polycube Company LLC
             266                The Rockridge Group
             267                Thermo Electron North America
             268                Thermo Fisher Scientific Chemi
             269                Thomas Scientific Inc
             270                Thompson Filtration, Inc.
             271                Tifco Industries
             272                Time Dedicated Carriers Inc.
             273                Toledo Carolina
             274                Total Quality Logistics (TQL)
             275                Trifinity Partners Inc.
             276                TRISTAR ICS, INC.
             277                TWD TradeWinds Inc
             278                U.S. Bank N.A.
             279                UC Regents-Off. of Techn. Lice
             280                UL Verification Services Inc.
             281                ULine Inc
             282                UniFirst Corporation
             283                United States Treasury
             284                UnitedHealthcare Insurance Com
             285                Univar USA
             286                University of Hawaii
             287                US Waste Industries, Inc.
             288                Vigon International, Inc.
             289                Vision Service Plan (CA)
             290                VWR International LLC
             291                Waste Management of Alameda Co
             292                Whitacre Logistics LLC
             293                Whiteville Rentals Inc.
             294                Wiley Companies
             295                Wilmington Rubber & Gasket
             296                Wisconsin BioProducts
             297                World Courier Inc
             298                World Wide Technology, LLC
             299                Wrike, Inc.
             300                Zymo Research Corporation




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                                                            through the Effective Date of the Plan.                                              Page 5 of 5
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         EXHIBIT C - REDLINE
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No.                                      Counterparty
 1        3700 Highway 421 Owner LLC
 2        ACCO Engineered Systems Inc
 3        ADL BIOPHARMA
 4        ADP Inc
 5        Advanced Chemical Transport In
 6        Agilent Technologies Inc
 7        Air Products and Chemicals, In
 8        Airgas Safety Inc
 89       Alabama Department of Revenue
910       Alfa Laval Inc
1011      Allog Transportes Internaciona
1112      Amazon Web Services Inc
 13       Ambius
1214      American Express
1315      American Industries, Inc.
1416      American Mechanical & Piping,
1517      Ana Dutra
1618      Aqua Designs, Inc.
1719      ARC3 Gases
1820      Art Robbins Instruments LLC
1921      Arthur J. Gallagher Insurance
2022      ASM Catalysts, LLC
2123      AT&T
2224      Atlantic Coast Toyotalift
 25       Atlas Copco Compressors
2326      Avalara, Inc.
2427      Avanti Polar Lipids, Inc
2528      Avantor Fluid Handling, LLC
 29       AWTECH LLC
2630      Azenta US, Inc.
2731      BankDirect Capital Finance
2832      Bankruptcy Management Solution
2933      Barnum Mechanical Inc.
3034      Beckman Coulter Inc
3135      Beck's Shoes Inc
3236      Better Source
 37       BFPE International
3338      Biddle Consulting Group, Inc.
3439      Bio Base Europe Pilot Plant
 40       Biosynth International, Inc.
3541      Bolivia Lumber Company, LLC
3642      Bonsucro Limited
3743      Brady Trane Service
3844      Brunswick County Public Utilit
3945      Cabot Norit Americas Inc.
4046      Calcon Systems, Inc.
4147      Calgon Carbon Corporation
4248      Calumet Refining, LLC
4349      Calumet Specialty Products Par
       Case 23-11131-TMH                 Doc 1205-1   Filed 01/23/24   Page 9 of 16


4450      Carolina Filters, Inc.
4551      Carrot Fertility, Inc.
4652      Central Indiana Ethanol, LLC
 53       CEVA Freight LLC
4754      CFGI Holdings, LLC
 55       Chemclean Onsite Services
 56       Chemglass Life Science, LLC
4857      ChemSolv Inc
4958      Chemtrec
5059      Cigna HealthCare
5160      Cintas Safety
5261      City of Emeryville
5362      Clark & Elbing LLP
 63       Clemson University
5464      CloudWyze
5565      CMC Logistics
5666      Cole Parmer Instrument Co
5767      Colonial Metals Inc.
5868      Communication Specialists
5969      Compensia Inc
 70       Computype Inc
6071      Concur Technologies, Inc
6172      ConEdison
6273      Corporation Service Company
6374      CP Lab Safety
6475      CPA Global
6576      Crane Pest Control
6677      Croaker Inc.
6778      Daijogo & Pedersen LLP
6879      DC Treasurer
6980      Deborah Hunt
7081      DeepDyve, Inc.
7182      Dekra Services, Inc.
7283      Delaware Secretary of State
7384      Deloitte Tax LLP
7485      DocuSign
7586      DocuSmart Inc. (dba Lexion)
7687      Dreisbach Enterprises Inc
7788      Duke Energy Progress
 89       Dynamic Devices
7890      East Carolina Bonded Warehouse
7991      EBMUD Payment Center
 92       Eclipse Office Technology, LLC
8093      eFax Corporate
8194      Elegen Corp.
8295      Elemental Machines
8396      Emerystation Triangle, LLC
8497      Enviro Safetech
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 8598       EPIC W12 LLC
 8699       ePlus Technology, inc.
87100       Equiniti Trust Company
88101       ES East, LLC
 102        E-TRADE Financial Corporation
89103       Eurofins Genomics LLC.
 104        Eurofins Microbiology Laborato
90105       Eurofins MTS Consumer Product
 106        Eurofins Nutrition Analysis Ce
91107       Evonik Corporation
92108       Evoqua Water Technologies LLc
 109        Ewald Associates Inc.
93110       Fenwick & West LLP
94111       Ferguson Enterprises, LLC
95112       Filtration Solutions Inc
96113       FIRMENICH INC
97114       First Digital Communications,
98115       Fish & Richardson P.C.
 116        Fisher Scientific Co LLC
99117       Franchise Tax Board
100118      Gappify, Inc.
101119      Gelest Inc
102120      Gen Digital, Inc.
  121       Genesee Scientific Corporation
103122      Geoffrey Duyk MD PhD
  123       Gerstel Inc
104124      Gibson, Dunn & Crutcher LLP
105125      Gitlab Inc.
106126      Givaudan Flavors Corporation
107127      Goodwin Procter LLP
108128      Gordon Rees Scully Mansukhani,
  129       GPL Enterprises Inc
109130      Graham Adair
110131      Grainger
111132      Green Wave Ingredients, Inc
112133      Gurkin Construction
  134       Hauptman Ham, LLP
  135       Haws Consulting Group
113136      Henry C. Levy
114137      Iggy Unlimited
115138      Illumina, Inc.
116139      Industrial & Construction
117140      InforsUSA
118141      Integra Biosciences Corp.
  142       Intelli-tech
119143      Intrepid Investment Bankers LL
120144      Iron Mountain
121145      Ishaq Totah
122146      J. Rettenmaier USA LP
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123147      James F McCann
124148      Jay Taylor Exterminating Co.,
125149      John Crane Inc.
126150      John Doerr
  151       Johnson Matthey Inc
127152      Julie Washington
128153      Kaiser Foundation Health Plan
  154       Karl Fisher
129155      Kekst and Company, Incorporate
130156      Kelly Services, Inc.
131157      Kilpatrick Townsend
132158      KLDiscovery Ontrack LLC
  159       Lancer Sales USA, Inc.
133160      Latham & Watkins
134161      Leland Ace Hardware
135162      Lever, Inc.
  163       Life Technologies Corp.
136164      Lincoln Financial Group
137165      Lisa Qi
138166      Loeb & Loeb LLP
139167      M. C. Tank Transport, Inc.
140168      Macias Gini & O'Connell LLP
141169      Marcor Development Corp
142170      Matt Marshall Company
143171      Mattingly Cold Storage
144172      Mayer Electric Supply
145173      McCampbell Analytical Inc
146174      McManus Drum Company
147175      McMaster-Carr Supply Co
148176      Mcnaughton-McKay Southeast Inc
  177       mdi Membrane Technologies INC.
149178      Mec-Tric Controls Company
150179      Medac Health Services PA
  180       Megan Buckley
151181      Mestrelab Research, S.L.
152182      MetLife Legal Plans, Inc.
153183      MetLife Small Business Center
154184      Metrohm USA, Inc.
155185      Mettler-Toledo Process Analyti
156186      Mewburn Ellis LLP
  187       MHD Communications
157188      Michael Herrinton
158189      Micro Quality Labs, Inc.
159190      Microsoft Corporation
160191      Minesoft Ltd
161192      Modern Health Arizona PLLC
162193      Motion Industries, Inc.
163194      MTS Logistics
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 195        New England BioLabs Inc
164196      New Pig Corporation
165197      NewPort Tank Containers (USA),
166198      Nikko Chemicals Co Ltd
167199      Nor-Cal Moving Services
168200      North Dakota State University
169201      NTT DATA, Inc.
  202       O. Berk
170203      OANDA Business Information & S
171204      Office Relief Inc
172205      OK Kosher Certification
173206      Oklahoma Tax Commission - Fran
174207      Old Dominion Freight Line Inc
175208      Oracle America, Inc.
176209      ORG Chem Group, LLC
177210      Pachulski Stang Ziehl & Jones
178211      Parker Hannifin Corporation
179212      PerkinElmer Informatics Inc.
180213      PG&E Co
  214       Phenomenex Inc
181215      Piedmont Natural Gas
  216       Pivit Global Inc.
182217      PlanSource
  218       Polycarbin, Inc.
183219      Pope Scientific Inc
184220      Precision IBC Inc
185221      Precision Measurements Inc.
186222      Pressure Chemical Co
187223      PricewaterhouseCoopers LLP
188224      Pridgen Brothers Contractors I
  225       Proforma
189226      Progent Corp
190227      Quiet Logistics, Inc.
191228      Rapid7 LLC
192229      RedLine Solutions, Inc.
193230      Reprints Desk, Inc.
  231       Restek Corp
194232      Sabin Metal Corporation
195233      SafeBridge Consultants Inc
196234      SafeStart
197235      SAP America Inc.
198236      Sartorius Corporation
199237      Sartorius Stedim North America
200238      Schuetz Container Systems, Inc
201239      SciSafe Inc
202240      Sefar Inc.
203241      Semitorr Group, Inc
  242       Seven Bridges Genomics, Inc
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204243      Sigma-Aldrich Inc
205244      Silver Lining Services, LLC
  245       Silverson Machines Inc.
206246      Smithers ERS Limited
207247      Softchoice Corp
208248      Southeastern Laboratories, Inc
209249      Southern Design & Mechanical,
210250      Spectrum Chemical Mfg Corp
211251      Squire Patton Boggs
212252      SR&R Environmental
213253      ST CROIX SENSORY INC
214254      Statco Engineering and Fabrica
  255       Stefan Wittocx
215256      Sterlitech Corp
216257      Steven R Mills
217258      Sun Life Assurance Company of
218259      Swagelok Northern California
219260      SYNQ Marketing Group, LLC
220261      TCI Chemicals
221262      TECO Pneumatic Inc
222263      Terumo BCT Inc
223264      The Caldwell Partners Internat
  265       The Polycube Company LLC
224266      The Rockridge Group
225267      Thermo Electron North America
226268      Thermo Fisher Scientific Chemi
227269      Thomas Scientific Inc
228270      Thompson Filtration, Inc.
229271      Tifco Industries
230272      Time Dedicated Carriers Inc.
231273      Toledo Carolina
232274      Total Quality Logistics (TQL)
  275       Trifinity Partners Inc.
233276      TRISTAR ICS, INC.
234277      TWD TradeWinds Inc
235278      U.S. Bank N.A.
236279      UC Regents-Off. of Techn. Lice
237280      UL Verification Services Inc.
  281       ULine Inc
238282      UniFirst Corporation
239283      United States Treasury
240284      UnitedHealthcare Insurance Com
241285      Univar USA
  286       University of Hawaii
242287      US Waste Industries, Inc.
243288      Vigon International, Inc.
244289      Vision Service Plan (CA)
245290      VWR International LLC
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246291      Waste Management of Alameda Co
247292      Whitacre Logistics LLC
248293      Whiteville Rentals Inc.
249294      Wiley Companies
250295      Wilmington Rubber & Gasket
251296      Wisconsin BioProducts
252297      World Courier Inc
253298      World Wide Technology, LLC
254299      Wrike, Inc.
 300        Zymo Research Corporation
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Comment Del:                   0
Comment Modified:              0
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          bility Modified:     0
Sheet Namme Modified d:        1
Protection Add:                0
Protection Del:                0
Named ran nge Add:             1
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Shape Add:                     0
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Header Add:                    0
Header Del:                    0
Header Mo od:                  0
                 Case 23-11131-TMH   Doc 1205-1   Filed 01/23/24   Page 16 of 16



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